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UNITED STATES DISTRICT COURT

:12-CV-01619-CB|\/|-FFI\/| Document 9 Filed 02/11/13 Page 1 of 2 Page |D #:32

CENTRAL DlSTRICT OF CALIFORNIA

MONIQUE FANG, CASE NG. 8112-€V-016l9-CBM-FFM
Plaintiff,
STIPULATION RE: DISMISSAL ()F
VS' ENTIRE ACTION AND ALL
PARTIES WITH PREJUDICE
CREDlT COLLECTION ’ ’
SERVICES and DOES 1 _ 10 PURSUANT TO FRCP 41(21)(1)
inclusive
Defendants.

 

IT IS HEREBY STIPULATED BY AND BETWEEN Plaintiff MONIQUE

FANG (“Plaintifi”), and Defendant CREDIT COLLECTION SERVICES

(“Defendant”), through its counsel of record, Carlson & l\/Iesser LLP, that Plaintiff

shall dismiss, With prejudice, the above-entitled lawsuit in its entirety as to all

 

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CASE NO. 8:12-cv-01619-CBM-FFM

 

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parties named therein, pursuant to FRCP 41(¢1)(])(24)(1‘1).

DATED: February ll, 2013 PRICE LAW GROUP APC

By: /s/ G. Th0n1as l\/lartin, lll
G. Thomas Martin
Attorneys for Plaintiff
MONIQUE FANG

DATED: February 11, 2013 CARLSON & l\/[ESSER LLP

By: /s/ J. Grace Felipe
David J. Karninski
J. Grace Felipe
Attorneys for Defendant,
CREDIT COLLECTION SERVICES

 

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